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 7
                                UNITED STATES DISTRICT COURT
 8                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 9
      THE UNIVERSITY OF WASHINGTON, a  )
10    Washington state agency; THE CENTER FOR
                                       )                   No. [               ]
      HUMAN RIGHTS AT THE UNIVERSITY OF)
11    WASHINGTON, a research center created by
                                       )                   COMPLAINT FOR
      state law; and ANGELINA GODOY, director of
                                       )                   DECLARATORY RELIEF FOR
12    the Center;                      )                   VIOLATING FOIA
                                       )
13                      Plaintiffs,    )
                                       )
14         v.                          )
                                       )
15    UNITED STATES DEPARTMENT OF      )
      HOMELAND SECURITY; UNITED STATES )
16    IMMIGRATION AND CUSTOMS          )
      ENFORCEMENT; and UNITED STATES   )
17    CUSTOMS AND BORDER PROTECTION;   )
                                       )
18                      Defendants.    )
19           Plaintiffs the University of Washington, the Center for Human Rights at the University

20    of Washington (“UWCHR”), and Angelina Godoy allege as follows:

21                                         INTRODUCTION
22           1.      Plaintiffs bring this action under the Freedom of Information Act (“FOIA”),

23    5 U.S.C. § 552 et seq., as amended to enjoin the Department of Homeland Security (“DHS”),

24    Immigration and Customs Enforcement (“ICE”), and Customs and Border Protection (“CBP”)

25    (collectively, the “DHS Defendants”) from continuing to improperly withhold agency records

26    concerning federal immigration enforcement in Washington State.

27
     COMPLAINT FOR DECLARATORY
     RELIEF FOR VIOLATING FOIA -1-                                            Davis Wright Tremaine LLP
                                                                                       L AW O F FI CE S
      4830-4686-7313v.7 0200873-000002                                           1201 Third Avenue, Suite 2200
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 1            2.     The records requested are pertinent to a variety of immigration affairs in the

 2    state of Washington. The public has a substantial interest in the due process and civil liberties

 3    issues arising from federal immigration enforcement. Washington State’s highest elected

 4    officials, including its Governor, Attorney General, and representatives in the U.S. Congress,

 5    have repeatedly raised concerns about ICE’s enforcement practices in Washington State.

 6            3.     As an academic center dedicated to research in the public interest, UWCHR

 7    seeks access to the requested records to assess federal authorities’ immigration enforcement

 8    operations and share this information with the general public, as well as with Washington

 9    State’s elected policymakers, to inform policies designed to protect Washington residents’ civil

10    liberties.

11            4.     The DHS Defendants’ refusal to produce responsive documents to Plaintiffs

12    FOIA requests has hampered Plaintiffs’ ability to inform the public and protect Washington

13    residents.

14                                            JURISDICTION
15            5.     This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

16    and 28 U.S.C. § 1331.

17                                                    VENUE
18            6.     Venue in the Western District of Washington is proper under 5 U.S.C.

19    § 552(a)(4)(B). Independently, venue is proper in the Western District of Washington because

20    all Plaintiffs reside in Seattle, Washington.

21                                                PARTIES
22            7.     Plaintiff the University of Washington is a Washington State agency and the

23    state’s largest public research university. Its business offices are in Seattle, Washington.

24            8.     Plaintiff the Center for Human Rights is an organization within the University of

25    Washington. The Washington Legislature created the Center for Human Rights in 2009 to

26    expand opportunities for Washington residents to receive a world-class education in human

27
     COMPLAINT FOR DECLARATORY
     RELIEF FOR VIOLATING FOIA -2-                                                Davis Wright Tremaine LLP
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 1    rights, generate research data and expert knowledge to enhance public and private

 2    policymaking, and to be an academic center for human rights teaching and research. The

 3    Center for Human Rights focuses on, among other things, the rights of all persons to security

 4    against violence. Its offices are in Seattle, Washington.

 5           9.      Plaintiff Angelina Godoy is the director of the Center for Human Rights and the

 6    Helen H. Jackson Chair in Human Rights at the Jackson School of International Studies at the

 7    University of Washington. Ms. Godoy resides in Seattle, Washington.

 8           10.     Defendant United States Department of Homeland Security is a federal agency

 9    within the meaning of 5 U.S.C. § 552 and 5 U.S.C. § 552a(a)(1).

10           11.     Defendant United States Immigration and Customs Enforcement is a federal

11    agency within the meaning of 5 U.S.C. § 552 and 5 U.S.C. § 552a(a)(1).

12           12.     Defendant United States Customs and Border Protection is a federal agency

13    within the meaning of 5 U.S.C. § 552 and 5 U.S.C. § 552a(a)(1).

14                                                FACTS
15                                 UWCHR’S FOIA Requests to DHS

16           13.     Starting in September 2017, UWCHR sent the DHS Defendants several dozen

17    FOIA requests seeking documents relevant to the human rights impact of federal immigration

18    enforcement in Washington State; of these, Plaintiffs object to DHS Defendants’ handling of

19    twelve. To date, the DHS Defendants have only produced documents responsive to two of

20    these twelve FOIA requests, though additional responsive documents have been improperly

21    withheld in both cases. In all twelve requests, the DHS Defendants have responded in one of

22    three ways: 1) acknowledging receipt of FOIA requests and then subsequently missing

23    deadlines to produce documents; 2) denying FOIA requests based upon capricious

24    interpretations of third-party consent requirements; and 3) improperly withholding responsive

25    documents.

26

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     COMPLAINT FOR DECLARATORY
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 1    DHS Defendants Miss Deadlines to Produce Documents

 2    FOIA Request ICE0009

 3           14.     On September 18, 2017, Ms. Godoy made, on behalf of the UWCHR, a written

 4    FOIA request to ICE. The request sought:

 5           [A]ll records (including written documents, files, electronic communications,
             records or reports of any sort) describing or reviewing the placement of
 6           detainees in segregation (including both administrative and disciplinary
 7           segregation) at the Northwest Detention Center in Tacoma, WA, from
             September 2013 to the present. This includes both notifications of initial
 8           placement in segregation as well as regular reviews performed in cases of
             extended segregation. We ask that documents be redacted to protect inmate
 9           privacy.
10    This request to ICE is hereinafter referred to as “ICE0009.”
11           15.     On October 4, 2017, ICE acknowledged receipt of ICE0009 and provided a
12    tracking number. See Ex. A.
13           16.     On November 8, 2017, Ms. Godoy emailed ICE asking when UWCHR could
14    expect delivery of document responsive to ICE0009, noting that on DHS’ FOIA website at that
15    time, the estimated date for document delivery was November 5, 2017. See Ex. B. The ICE
16    FOIA Office did not respond to this email.
17           17.     On February 23, 2018, Ms. Godoy again emailed ICE asking when UWCHR
18    could expect delivery of documents responsive to ICE0009. See Ex. C. The ICE FOIA Office
19    responded that “[t]his request is active and the program office[s] have been tasking to search
20    for responsive records.” See Ex. D.
21           18.     As of the filing of this Complaint, ICE has not produced any documents
22    responsive to ICE0009. DHS’ FOIA website, as of September 10, 2018, estimates documents
23    will be delivered by December 20, 2017.
24           19.     On information and belief, ICE possesses documents responsive to ICE0009.
25

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 1    FOIA Request ICE0021

 2           20.     On March 13, 2018, Ms. Godoy made, on behalf of the UWCHR, a written

 3    FOIA request to ICE. The request sought:

 4           [A]ll documentation related to grievances, formal or informal, and their
             resolution, at the Northwest Detention Center in Tacoma, WA, from January 1,
 5           2012 to March 10, 2018. Under the PBDNS 2011 standards, each facility is
 6           expected to maintain a “grievance log” (see p. 416 of the complete standard),
             into which information about the resolution of informal grievances and the
 7           processing of formal (written) grievances should be entered. We are requesting
             copies of the information contained in this log for 2012-2018. We ask that
 8           personally identifiable information be redacted from this log to protect the
             privacy of third parties.
 9
      This request to ICE is hereinafter referred to as “ICE0021.”
10
             21.     On March 26, 2018, ICE acknowledged receipt of ICE0021 and provided a
11
      tracking number. See Ex. E.
12
             22.     As of September 10, 2018, the DHS FOIA website lists an estimated document
13
      delivery date of April 29, 2018.
14
             23.     As of the filing of this Complaint, ICE has not produced any documents
15
      responsive to ICE0021.
16
             24.     On information and belief, ICE possesses documents responsive to ICE0021.
17
      FOIA Request ICE0024
18
             25.     On April 26, 2018, Ms. Godoy made, on behalf of the UWCHR, a written FOIA
19
      request to ICE. The request sought:
20

21           [A] sortable spreadsheet of all encounters, arrests, and removals under the Criminal
             Alien Program in the Seattle Area of Responsibility during FY2017 and FY2018 to
22           date, with columns including FBI Number, Event Number, Arrest Date, Arrest Method,
             Apprehension Landmark, Operation, Processing Disposition, Age Current, Citizenship
23           Country, Gender, Complexion, Postal Code, State, City, Charging Document Issue
             Date, Removal Case Threat Level, Final Charge Section, Prior Removal Flag, Children
24
             Count, and Child Citizenship Country. We are not providing third party consent forms
25           for all those whose data would be included and therefore understand that as a result,
             personally-identifiable information will be redacted to protect their privacy. However,
26           the FOIA requires that all segregable information be provided to requesters, and
27
     COMPLAINT FOR DECLARATORY
     RELIEF FOR VIOLATING FOIA -5-                                            Davis Wright Tremaine LLP
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             personally-identifiable information is segregable from the remainder of this
 1           information.
 2    This request to ICE is hereinafter referred to as “ICE0024.”
 3           26.       On May 17, 2018, the ICE FOIA Office acknowledged receipt of ICE0024 and
 4    provided a tracking number. See Ex. F.
 5           27.       As of September 10, 2018, the status update on DHS’ FOIA website estimates a
 6    document delivery date of May 30, 2018.
 7           28.       As of the filing of this Complaint, ICE has not produced any documents
 8    responsive to ICE0024.
 9           29.       On information and belief, ICE possesses documents responsive to ICE0024.
10    FOIA Request CBP0002
11           30.       On August 8, 2017, Ms. Godoy made, on behalf of the UWCHR, a written
12    FOIA request to CBP. The request sought:
13
             [R]ecords (including all documents, files, correspondence, data, reports,
14           communications or notes in electronic or written, including handwritten, form) created
             on or after January 1, 2012, and created by and/or in the possession of CBP’s Blaine
15           Sector and/or its stations at Sumas, Blaine, Port Angeles or Bellingham:
16                    Copies of Form I-213 (“Record of Deportable/Inadmissible Alien”):
17                         o For each individual detained or taken into custody by stations in CBP’s
                              Blaine Sector; and
18                         o For each individual transferred to stations in CBP’s Blaine sector by
                              state or local law enforcement officials. This includes, but is not limited
19                            to, all Form I-213’s issued for which the Method of
                              Location/Apprehension is coded OA (“Other Agency”) and/or the
20
                              Narrative section mentions a state or local law enforcement agency.
21                    Daily Apprehension Log for individuals apprehended by stations in the CBP’s
                       Blaine sector. This includes, but is not limited to all data and statistics relating
22                     to:
                           o Length of time in the United States;
23                         o Country of Citizenship;
                           o Complexion; and
24
                           o Criminal Record.
25                    Copies of Form I-44 (“Report of Apprehension or Seizure”):
                           o For each individual transferred to stations in CBP’s Blaine sector by
26                            state or local law enforcement officials; and
27
     COMPLAINT FOR DECLARATORY
     RELIEF FOR VIOLATING FOIA -6-                                                  Davis Wright Tremaine LLP
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                           o For each individual stopped but not arrested by stations in CBP's Blaine
 1                            sector for whom I-44’s were issued.
 2                    All records, data or statistics from the Daily Apprehension Log regarding
                       individuals arrested by or transferred to CBP stations in Blaine sector for whom
 3                     I-44’s were issued. This includes but is not limited to data or statistics regarding:
                           o Length of time in the United States;
 4                         o Country of Citizenship;
                           o Complexion; and
 5                         o Criminal Record.
 6    This request to ICE is hereinafter referred to as “CBP0002.”
 7           31.       On August 9, 2017, CBP claimed that CBP0002 was “too broad in scope and did
 8    not specifically identify the records which you are seeking.” See Ex. G. On August 17, 2017,
 9    Ms. Godoy appealed CBP’s determination that CBP0002 was too broad. See Ex. H. On
10    January 12, 2018, CBP offered to provide I-213s but reiterated that CBP0002 was “overly-
11    burdensome, and cannot be processed.” See Ex. I. Once again, Ms. Godoy appealed this
12    decision and requested all documents responsive to CBP0002. See Ex. J.
13           32.       As of the filing of this Complaint, CBP has not produced any documents
14    responsive to CBP0002.
15           33.       On information and belief, CBP possesses documents responsive to CBP0002.
16    FOIA Request CBP0005
17           34.       On August 8, 2017, Ms. Godoy made, on behalf of the UWCHR, a written
18    FOIA request to CBP. The request sought:
19
             [R]ecords (including all documents, files, correspondence, data, reports,
20           communications or notes in electronic or written, including handwritten, form) created
             on or after January 1, 2012, and created by and/or in the possession of CBP’s Blaine
21           Sector and/or its stations at Sumas, Blaine, Port Angeles or Bellingham:
22
                      Copies of Form I-44 (“Report of Apprehension or Seizure”):
23                         o For each individual transferred to stations in CBP's Blaine sector by state
                               or local law enforcement officials; and
24                         o For each individual stopped but not arrested by stations in CBP’s Blaine
                               sector for whom I-44’s were issued.
25                     All records, data or statistics from the Daily Apprehension Log regarding
26                     individuals arrested by or transferred to CBP stations in Blaine sector for whom
                       I-44’s were issued. This includes but is not limited to data or statistics regarding:
27
     COMPLAINT FOR DECLARATORY
     RELIEF FOR VIOLATING FOIA -7-                                                  Davis Wright Tremaine LLP
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                        o   Length of time in the United States;
 1                      o   Country of Citizenship;
                        o   Complexion; and
 2
                        o   Criminal Record.
 3    This request to CBP is hereinafter referred to as “CBP0005.”
 4           35.     On August 17, 2017, CBP acknowledged receipt of CBP0005. See Ex. K.
 5           36.     On August 18, 2017, CBP indicated that Ms. Godoy must provide third party
 6    authorization forms for this request. See Ex. L. Ms. Godoy appealed this determination in
 7    writing via CBP’s online portal on August 29, 2017. CBP received this appeal and assigned it
 8    tracking number CBP-AP-2017-084088. This appeal, and all correspondence related to it, have
 9    subsequently vanished from the online portal tracking correspondence.
10           37.     On September 6, 2017, CBP responded via the online portal that “We agree that
11    the request may be processed despite the fact that authorizations were not provided. We note,
12    however, that the increasing frequency of all apprehension reports from a given sector has
13    strained CBP resources. Accordingly, we are remanding the matter to the FOIA Division for
14    processing.”
15           38.     On November 13, 2017 Ms. Godoy received a phone call from an official who
16    identified herself only as Karen, an attorney working for CBP, stating that it would take “a few
17    months” for the request to be fulfilled but declining to give an estimated date by which would
18    produce documents.
19           39.     As of the filing of this Complaint, CBP has not produced any documents
20    responsive to CBP0005.
21           40.     On information and belief, CBP possesses documents responsive to CBP0005.
22    FOIA Request CBP0008
23           41.     On January 7, 2018, Ms. Godoy made, on behalf of the UWCHR, a written
24    FOIA request to CBP. The request sought:
25
             [R]ecords (including all documents, files, correspondence, data, reports,
26           communications or notes in electronic or written, including handwritten, form) created
27
     COMPLAINT FOR DECLARATORY
     RELIEF FOR VIOLATING FOIA -8-                                              Davis Wright Tremaine LLP
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             on or after January 1, 2012, and created by and/or in the possession of CBP's Blaine or
 1           Spokane Sectors or the stations within these sectors relating to:
 2
                      Copies of Form I-213 (“Record of Deportable/Inadmissible Alien”):
 3                         o For each individual detained or taken into custody by stations in
                              Washington state; and
 4                         o For each individual transferred to stations in Washington state by state
                              or local law enforcement officials. This includes, but is not limited to,
 5                            all Form I-213’s issued for which the Method of Location/Apprehension
 6                            is coded OA (“Other Agency”) and/or the Narrative section mentions a
                              state or local law enforcement agency.
 7                    Daily Apprehension Log for individuals apprehended by stations in the state of
                       Washington. This includes, but is not limited to all data and statistics relating
 8                     to:
                           o Length of time in the United States;
 9
                           o Country of Citizenship;
10                         o Complexion; and
                           o Criminal Record.
11                    Copies of Form I-44 (“Report of Apprehension or Seizure”):
                           o For each individual transferred to stations in Washington state by state
12                            or local law enforcement officials; and
13                         o For each individual stopped but not arrested by stations in Washington
                              state for whom I-44’s were issued.
14                    All records, data or statistics from the Daily Apprehension Log regarding
                       individuals arrested by or transferred to CBP stations in Washington state for
15                     whom I-44’s were issued. This includes but is not limited to data or statistics
                       regarding:
16
                           o Length of time in the United States;
17                         o Country of Citizenship;
                           o Complexion; and
18                         o Criminal Record.

19    This request to CBP is hereinafter referred to as “CBP0008.”

20           42.       On January 8, 2018, CBP acknowledged receipt of CBP0008. See Ex. M.

21           43.       As of the filing of this Complaint, CBP has not produced any documents

22    responsive to CBP0008.

23           44.       On information and belief, CBP possesses documents responsive to CBP0008.

24    FOIA Request CBP0010

25           45.       On April 21, 2018, Ms. Godoy made, on behalf of the UWCHR, a written FOIA

26    request to CBP. The request sought:

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     COMPLAINT FOR DECLARATORY
     RELIEF FOR VIOLATING FOIA -9-                                               Davis Wright Tremaine LLP
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 1             [A]ll records or reports of all of the stops, apprehensions, or encounters made by CBP
               agents within WA state from April 7, 2017 to the date of processing of this request.
 2
      This request to CBP is hereinafter referred to as “CBP0010.”
 3
               46.       On May 31, 2018, CBP acknowledged receipt of CBP0010. See Ex. N.
 4
               47.       As of the filing of this Complaint, CBP has not produced any documents
 5
      responsive to CBP0010.
 6
               48.       On information and belief, CBP possesses documents responsive to CBP0010.
 7
      DHS Defendants Assert Capricious Interpretations of Third-Party Consent Requirements
 8
      FOIA Request ICE0010
 9
               49.       On October 17, 2017, Ms. Godoy made, on behalf of the UWCHR, a written
10
      FOIA request to ICE. The request sought:
11

12             [C]opies of Form I-213 (“Record of Deportable/Inadmissible Alien”) created on or after
               January 1, 2012, for:
13
                        Each individual detained or taken into custody by staff from ICE's Seattle field
14                       office;
15                      Each individual transferred to the custody for staff from ICE's Seattle field
                         office by CBP, or by state or local law enforcement officials. This includes, but
16                       is not limited to, all Form I-213’s issued for which the Method of
                         Location/Apprehension is coded OA (“Other Agency”) and/or the Narrative
17                       section mentions a state or local law enforcement agency.
18    This request to ICE is hereinafter referred to as “ICE0010.”
19             50.       On January 8, 2018, ICE responded to ICE0010 by requesting that she clarify
20    her request by providing third-party consent forms. See Ex. O. On January 16, 2018, Ms.
21    Godoy responded, explaining why third party consent forms were not required. See Ex. P.
22    When Ms. Godoy checked the status of this case on DHS’ website on March 13, 2018, the
23    status was listed as “request for docs sent,” suggesting this argument had been accepted.
24             51.       On March 26, 2018, ICE responded to ICE0010 without mentioning third party
25    consent forms, instead insisting that it had no records, citing law enforcement exemptions. See
26    Ex. Q.
27
     COMPLAINT FOR DECLARATORY
     RELIEF FOR VIOLATING FOIA -10-                                                 Davis Wright Tremaine LLP
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 1           52.     On May 14, 2018, Ms. Godoy submitted an appeal of ICE’s broad application of

 2    the law enforcement exemption. See Ex. R. ICE rejected this appeal on June 25, citing the

 3    failure to provide third party consent forms. See Ex. S.

 4           53.     ICE’s rejection of ICE0010 was based upon a capricious interpretation of third-

 5    party consent requirements and law enforcement exemptions.

 6           54.     As of the filing of this Complaint, ICE has not produced any documents

 7    responsive to ICE0010.

 8           55.     On information and belief, ICE possesses documents responsive to ICE0010.

 9    FOIA Request ICE0011

10           56.     On October 17, 2017, Ms. Godoy made, on behalf of the UWCHR, a written

11    FOIA request to ICE. The request sought:

12           [A]ll Field/Fugitive Operations worksheets, significant event notifications, and
             significant incident reports for ICE’s Seattle field office created on or after January 1,
13
             2012.
14    This request to ICE is hereinafter referred to as “ICE0011.”
15           57.     On February 2, 2018, ICE rejected ICE0011 in its entirety citing law
16    enforcement exemptions and requirements for third-party consent. See Ex. T. Ms. Godoy
17    submitted an appeal on March 9, 2018; on March 20, 2018, ICE responded positively to the
18    appeal, indicating that upon further review the agency had determined that non-exempt
19    information could be released. See Ex. U. Yet on April 10, 2018, ICE once again rejected
20    ICE0011 claiming that it required third-party authorization. See Ex. V.
21           58.     ICE’s rejection of ICE0011 was based upon a capricious interpretation of third-
22    party consent requirements.
23           59.     As of the filing of this Complaint, ICE has not produced any documents
24    responsive to ICE0011.
25           60.     On information and belief, ICE possesses documents responsive to ICE0011.
26

27
     COMPLAINT FOR DECLARATORY
     RELIEF FOR VIOLATING FOIA -11-                                               Davis Wright Tremaine LLP
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 1    FOIA Request ICE0013

 2           61.     On December 5, 2017, Ms. Godoy made, on behalf of the UWCHR, a written

 3    FOIA request to ICE. The request sought:

 4           [A]ll forms I-860, M-444, I-871 and I-851 regarding removals of persons apprehended
             in Washington State from January 1, 2012 to the present.
 5
      This request to ICE is hereinafter referred to as “ICE0013.”
 6
             62.     On March 16, 2018, ICE demanded third-party consent forms. See Ex. W. The
 7
      same day, Ms. Godoy explained to ICE why ICE0013 did not require third-party consent
 8
      forms. See Ex. X.
 9
             63.     On May 15, 2018, ICE rejected ICE0013 citing a lack of third-party consent
10
      forms. See Ex. Y. On May 25, 2018, Ms. Godoy appealed this decision. See Ex. Z. On June
11
      28, 2018, ICE responded to the May 25 appeal; without mentioning third-party consent forms,
12
      the agency argued for the first time that it would not process the request because it was overly
13
      burdensome. See Ex. AA.
14
             64.     ICE’s rejection of ICE0013 was based upon a capricious interpretation of third-
15
      party consent requirements.
16
             65.     As of the filing of this Complaint, ICE has not produced any documents
17
      responsive to ICE0013.
18
             66.     On information and belief, ICE possesses documents responsive to ICE0013.
19
      DHS Defendants Improperly Withhold Responsive Documents
20
      FOIA Request ICE0020
21
             67.     On January 15, 2018, Ms. Godoy made, on behalf of the UWCHR, a written
22
      FOIA request to ICE. The request sought:
23

24           [A]ll correspondence between ICE employees and employees of the Washington state
             Department of Licensing from January 1, 2016 to January 15, 2018. Recent reporting by
25           Nina Shapiro in The Seattle Times has documented the WA DOL’s regular practice of
             handing over information about drivers’ license applicants to ICE 20 to 30 times per
26           month; WA DOL spokeswoman Christine Anthony has stated that this practice took
27
     COMPLAINT FOR DECLARATORY
     RELIEF FOR VIOLATING FOIA -12-                                              Davis Wright Tremaine LLP
                                                                                          L AW O F FI CE S
      4830-4686-7313v.7 0200873-000002                                              1201 Third Avenue, Suite 2200
                                                                                      Seattle, WA 98101-3045
                                                                               206.622.3150 main · 206.757.7700 fax
             Case 2:18-cv-01396-BJR Document 1 Filed 09/21/18 Page 13 of 15



             place when immigration enforcement authorities emailed License Integrity Unit seeking
 1           information. We are therefore requesting copies of all emails exchanged between ICE
             personnel and any individual or office using an email ending in @dol.wa.gov, including
 2
             any attachments, from January 1, 2016 to January 15, 2018.
 3    This request to ICE is hereinafter referred to as “ICE0020.”
 4           68.      On April 25, 2018, ICE requested the UWCHR narrow its request. See Ex. BB.
 5    During a phone call on April 26, 2018, summarized in an email that same day, Ms. Godoy
 6    agreed to narrow the scope of ICE0020. See Ex. CC.
 7           69.      On May 21, 2018, ICE informed Ms. Godoy that it had located 285 pages of
 8    responsive documents but withheld four pages of otherwise responsive material claiming FOIA
 9    Exemptions (b)(5). See Ex. DD. Ms. Godoy appealed this decision on June 13, 2018 and ICE
10    rejected the appeal on July 13, 2018 claiming that the withheld documents were blank. See
11    Exs. EE & FF.
12           70.      ICE’s withholding of the four responsive pages by claiming they are “blank” is
13    facially implausible as the Washington State Department of Licensing responded to at least one
14    of those pages with an email stating “Here is the information you requested.” On information
15    and belief, these four pages are responsive to ICE0020 and are improperly being withheld.
16    FOIA Request ICE0023
17           71.      On April 26, 2018, Ms. Godoy made, on behalf of the UWCHR, a written FOIA
18    request to ICE. The request sought:
19
             [A]ll Detainee Transfer Notification Forms and Forms I-216 generated in cases of
20           transfers of detainees from the Northwest Detention Center in Tacoma to NORCOR in
             The Dalles OR, and from NORCOR to the NWDC, from January 1, 2016 to May 1,
21           2018. We are not providing a third party consent forms for the affected individuals and
22           therefore understand that their names, addresses, and social security numbers will be
             redacted to protect their privacy.
23
             This request to ICE is hereinafter referred to as “ICE0023.”
24
             72.      On May 8, 2018, ICE acknowledged receipt of ICE0023 and provided a tracking
25
      number. See Ex. GG.
26

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     COMPLAINT FOR DECLARATORY
     RELIEF FOR VIOLATING FOIA -13-                                            Davis Wright Tremaine LLP
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 1           73.     On May 18, 2018, ICE sought a “clarification and/or narrowing of the timeframe

 2    for the request.” See Ex. HH. On the same day, Ms. Godoy agreed to limit the timeframe of

 3    ICE0023 to the dates January 1, 2017 to May 1, 2018. See Ex. II.

 4           74.     On August 23, 2018, ICE stated that it had identified 54 pages and 1 excel

 5    workbook responsive to ICE0023 and provided these documents, in redacted form, to

 6    UWCHR. See Ex. JJ. However, these records were all from 2018; no 2017 documents were

 7    included, nor was there any explanation for their omission. UWCHR appealed the withholding

 8    of responsive documents on September 11, 2018. See Ex. KK.

 9           75.     As of the filing of this Complaint, ICE has not produced all documents

10    responsive to ICE0023.

11                                       FIRST CAUSE OF ACTION
12       Violation of FOIA by the DHS Defendants for Failure to Make Promptly Available
13                             the Records Sought by Plaintiffs’ Requests.
14           1.      Plaintiffs have a legal right under FOIA to obtain the agency records they
15    requested in FOIA requests ICE0009, ICE0021, ICE0024, CBP0002, CBP0005, CBP0008,
16    CBP0010, ICE0010, ICE0011, ICE0013, ICE0020, and ICE0023, and there exists no legal
17    basis for the DHS Defendants’ failure to make these records available to the public.
18           2.      The DHS Defendants’ failure to make promptly available the records sought by
19    UWCHR’s requests violates FOIA, 5 U.S.C. § 552(a)(3)(A) and (a)(6)(A)(ii), and applicable
20    regulations promulgated thereunder.
21                                        PRAYER FOR RELIEF
22           WHEREFORE, Plaintiffs request the Court award them the following relief:
23           A.      Declare that the DHS Defendants have violated FOIA in its responses to the
24    FOIA requests;
25

26

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     COMPLAINT FOR DECLARATORY
     RELIEF FOR VIOLATING FOIA -14-                                            Davis Wright Tremaine LLP
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 1           B.      Order the DHS Defendants to immediately disclose the requested records to

 2    Plaintiffs and enter an injunction prohibiting the DHS Defendants from continuing to withhold

 3    the requested records from the public;

 4           C.      Award Plaintiffs their reasonable costs and attorney’s fees;

 5           D.      Grant such further relief as the court may deem just and proper.

 6           DATED this 21st day of September, 2018.

 7                                                     Davis Wright Tremaine LLP
                                                       Special Assistant Attorneys General
 8
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16
                                                           Attorneys for Plaintiffs the Center for
17                                                         Human Rights at the University of
                                                           Washington, the University of Washington
18                                                         and Angeline Godoy
19                                                         *pro hac vice application forthcoming
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     COMPLAINT FOR DECLARATORY
     RELIEF FOR VIOLATING FOIA -15-                                             Davis Wright Tremaine LLP
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